                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
            v.                             )      CASE NO. DNCW 3:10CR102
                                           )      (Financial Litigation
                                                   Unit)
JERRY W. HOLMES,                           )
                                           )
and                                        )
                                           )
IBM PERSONAL PENSION PLAN,                 )
               Garnishee.                         )

                     WRIT OF CONTINUING GARNISHMENT

TO:         IBM Personal Pension Plan
            International Business Machines Corp.
            New Orchard Road - M/D 327
            Armonk, NY 10504
            Attn: Plan Administrator Martin Bagno

      An Application for a Writ of Garnishment against the property

of Jerry Wayne Holmes, Defendant/debtor, has been filed with this

Court, (Docket No. 57).       A judgment has been entered against the

Defendant/debtor, (Docket No. 48).            The balance of $2,564,650.31,

computed through August 22, 2011, is due and owing.

      You, as Garnishee, are required by law to answer in writing,

under oath, within ten (10) days, of service of this Writ, whether

or not you have in your custody, control or possession, any

property or funds owned by the Defendant/debtor, including non-

exempt, disposable earnings.

      You   must   withhold   and    retain    any    property        in   which   the

Defendant/debtor has a substantial non-exempt interest and for



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which you are or may become indebted to the Defendant/debtor

pending further order of the Court.          This means that you should

withhold 25% of the Defendant/debtor's earnings which remain after

all deductions required by law have been withheld and 100% of all

1099 payments. See 15 U.S.C. ' 1673(a).

      Please   state   whether    or   not   you   anticipate    paying   the

Defendant/debtor any future payments and whether such payments are

weekly, bi-weekly, monthly, annually or bi-annually.

     You must file the original written Answer to this Writ within

ten (10) days of your receipt of this Writ with the following

office:

            Clerk of the United States District Court
                       401 West Trade Street
                        Charlotte, NC 28202

     Additionally, you are required by law to serve a copy of the

Answer upon the Defendant/debtor at his last known address:

                           Jerry W. Holmes
                          XXXXXXXXXXXXXXXX
                         Matthews, NC 28104

     You are also required to serve a copy of the Answer upon the

Plaintiff at the following address:

      Jennifer A. Youngs, Assistant United States Attorney
                 United States Attorney's Office
                    Financial Litigation Unit
                227 West Trade Street, Suite 1650
                       Charlotte, NC 28202

     Under the law, there is property which is exempt from this

Writ of Garnishment.    Property which is exempt and which is not



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subject to this Order may be listed on the attached Claim for

Exemption form.

     Pursuant       to   15   U.S.C.       '1674,    you,    the      Garnishee,    are

prohibited from discharging the Defendant/debtor from employment by

reason   of   the    fact     that   his    earnings      have     been   subject       to

garnishment for any one indebtedness.

     Pursuant to 28 U.S.C. ' 3205(c)(6), if you fail to answer this

Writ or withhold property or funds in accordance with this Writ,

the United States of America may petition the Court for an order

requiring you to appear before the Court to answer the Writ and to

withhold property before the appearance date.                         If you fail to

appear or do appear and fail to show good cause why you failed to

comply with this Writ, the Court shall enter a judgment against you

for the value of the Defendant/debtor's non-exempt interest in such

property.     The Court may award a reasonable attorney's fee to the

United States and against you if the Writ is not answered within

the time specified.           It is unlawful to pay or deliver to the

Defendant/debtor any item attached by this Writ.

     SO ORDERED.                            Signed: August 22, 2011




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